  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1745

                     ALTHEA GARRISON,

                  Plaintiff, Appellant,

                            v.

  NATIONAL ASSOCIATION OF GOVERNMENT EMPLOYEES, ET AL.,

                  Defendants, Appellees.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

       [Hon. Richard Stearns, U.S. District Judge]

                          Before

                 Torruella, Chief Judge,
            Campbell, Senior Circuit Judge,
               and Lipez, Circuit Judge.

 Althea Garrison on brief pro se.
 Joseph G. Donnellan on brief for appellees.

April 2, 1999

        Per Curiam.  Althea Garrison appeals pro se from a
district court order dismissing her complaint against a union
and various union officials.  Having carefully reviewed the
briefs and record, we affirm essentially for the reasons stated
by the district court.  We add that a litigant cannot make an
end-run around the six-month limitation period by repackaging
a hybrid  301/fair representation suit under the Labor
Management Relations Act ("LMRA") as a claim under the Labor-
Management Reporting and Disclosure Act ("LMRDA").  See Linnanev. General Elec. Co., 948 F.2d 69, 73 (1st Cir. 1991).
Accordingly, even if we assume for the sake of argument that
Garrison's amended complaint states a claim under the LMRDA, it
is time-barred.  Finally, Garrison's contention that the
district judge should have recused himself, made for the first
time in her reply brief, is waived based on her failure to
raise the issue in the district court.  See In re Abijoe Realty
Corp., 943 F.2d 121, 127 (1st Cir. 1991).  In any event, her
suggestion of a conflict of interest is entirely speculative.
        Affirmed.    
